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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                                          LEAD CASE NO. 3:19-bk-30289
 In re:                                                   Joint Administration

 BLACKJEWEL, L.L.C., et al.,                              Chapter 11

                                   Debtors.1              Judge Frank W. Volk


                       RESPONSE TO COURT INQUIRY RELATING TO
                       REQUESTED REIMBURSEMENT OF EXPENSES

          Whiteford, Taylor & Preston, LLC (“WTP”), as counsel for the Official Committee of

Unsecured Creditors of Debtors Blackjewel, L.L.C., et al. (the “Committee”), respectfully submits

this Response (the “Response”) to this Honorable Court’s Order entered on December 3, 2019,

relating to requested expense reimbursements [Doc. No. 1502] (the “December 3rd Order”), and in

support thereof, states as follows:

          1.     Upon review of the Application for Interim Compensation by Whiteford, Taylor &

Preston, LLC [Doc. No. 1242] (the “WTP Application”), this Honorable Court entered the

December 3rd Order seeking, among other things, clarification of certain expenses sought in the

WTP Application.

          2.     Following is a chart with explanations of expenses incurred per the December 3rd

Order:




1        The debtors in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) and the last four digits of
each debtor’s taxpayer identification number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C.
(4745); Revelation Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy,
LLC (4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation
(2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal
LLC (2213) (collectively, the “Debtors”). The headquarters for each of the Debtors is located at 1051 Main Street,
Milton, West Virginia 25541-1215.
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Date of       Nature of         Individual (s)   Amount of       Court’s              WTP Response
Expense       Expense             Involved        Expense      Comment(s)

7.22.2019   Meals             D. Schimizzi       $40.97      Was this lunch for   No. This lunch expense
                                                             only one person?     covered the meals for
                                                                                  two (2) individuals –
                                                                                  Daniel Schimizzi and
                                                                                  Michael
                                                                                  Roeschenthaler. The
                                                                                  average cost per person
                                                                                  was $20.49.

                                                                                  Notwithstanding the
                                                                                  above, WTP will waive
                                                                                  its request for
                                                                                  reimbursement of this
                                                                                  cost.


 8.6.2019   Meals             Roeschenthaler,    $165.49     This is a large      This meal followed a
                              Riley, Rapp                    amount for a meal    full day of hearings and
                                                             for three people.    meetings. Before tax
                                                                                  and gratuity, the cost
                                                                                  was $128.50, which
                                                                                  equates to $42.83 per
                                                                                  person.

                                                                                  Notwithstanding the
                                                                                  above, WTP will waive
                                                                                  its request for
                                                                                  reimbursement of this
                                                                                  cost.


 8.7.2019   Travel/Lodging    Roeschenthaler     $445.31     This is expensive    This reimbursement
                                                             for a one-night      request relates to a
                                                             stay in a            three (3) night stay at
                                                             Charleston, WV       the Four Points by
                                                             hotel.               Sheraton. The average
                                                                                  room cost per night was
                                                                                  $129.00 before taxes
                                                                                  and fees.

                                                                                  $7.48 of this expense
                                                                                  related to beverages
                                                                                  purchased at the gift
                                                                                  shop.

                                                                                  $50.83 relates to
                                                                                  applicable taxes, and
                                                                                  occupancy/tourism
                                                                                  fees.




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Date of       Nature of         Individual (s)   Amount of       Court’s             WTP Response
Expense       Expense             Involved        Expense      Comment(s)

 8.7.2019   Travel/Lodging    D. Schimizzi       $744.15     This is expensive   This reimbursement
                                                             for a one-night     request relates to a two
                                                             stay in a           (2) night stay at the
                                                             Cincinnati, OH      Hilton Hotel.
                                                             hotel.
                                                                                 The hotel rate was $260
                                                                                 per night before taxes.

                                                                                 $67.15 of this expense
                                                                                 related to meals over
                                                                                 the course of two days
                                                                                 for three (3) individuals
                                                                                 – Daniel Schimizzi,
                                                                                 Richard Riley, and Jack
                                                                                 Surdoval. The average
                                                                                 cost per person was
                                                                                 $22.38.

                                                                                 The hotel charged
                                                                                 $66.00 for parking.

                                                                                 Taxes for the 2-night
                                                                                 stay were $91.00.

 8.8.2019   Travel/Lodging    B. Rapp            $526.12     This is expensive   This reimbursement
                                                             for a one-night     request relates to a
                                                             stay in a           three (3) night stay at
                                                             Charleston, WV.     the Four Points by
                                                             hotel.              Sheraton.

                                                                                 The average room cost
                                                                                 per night was $129.33
                                                                                 before taxes and fees.

                                                                                 $39.03 of this expense
                                                                                 related to meals for
                                                                                 Brandy Rapp over the
                                                                                 course of her stay.

                                                                                 $5.60 of this expense
                                                                                 related to beverages
                                                                                 purchased at the gift
                                                                                 shop.

                                                                                 $93.50 relates to
                                                                                 applicable taxes,
                                                                                 parking, and
                                                                                 occupancy/tourism
                                                                                 fees.




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Date of       Nature of          Individual (s)   Amount of        Court’s               WTP Response
Expense       Expense              Involved        Expense       Comment(s)

8.16.2019   Miscellaneous –    N/A                $1,257.75   The Court would        Discussed below.
            Videographer at                                   like further details
            Pax Mine                                          about this
                                                              expense.

8.21.2019   Travel/Lodging     B. Rapp            $558.54     This is expensive      This reimbursement
                                                              for a one-night        request relates to a
                                                              stay in a              three (3) night stay at
                                                              Charleston, WV.        the Four Points by
                                                              hotel.                 Sheraton.

                                                                                     The average room cost
                                                                                     per night was $152.67
                                                                                     before taxes and fees.

                                                                                     $4.67 of this cost
                                                                                     related to
                                                                                     beverages/sundries
                                                                                     purchased at the gift
                                                                                     shop.

                                                                                     $95.86 relates to
                                                                                     applicable taxes
                                                                                     parking, and
                                                                                     occupancy/tourism
                                                                                     fees.


8.21.2019   Meals              Roeschenthaler,    $206.72     This is a large        This meal followed a
                               Rapp, Vorsteg                  amount for a meal      full day of 341
                                                              for three people.      meetings and related
                                                                                     meetings of
                                                                                     professionals. This was
                                                                                     the only meal billed for
                                                                                     that day.

                                                                                     Before tax and gratuity,
                                                                                     the cost was $161.00,
                                                                                     which equates to
                                                                                     $53.67 per person for
                                                                                     meals on that day.

                                                                                     Notwithstanding the
                                                                                     above, WTP will waive
                                                                                     its request for
                                                                                     reimbursement of this
                                                                                     cost.




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  Date of       Nature of          Individual (s)   Amount of        Court’s               WTP Response
  Expense       Expense              Involved        Expense       Comment(s)

  8.22.2019   Meals              Roeschenthaler,    $192.60     This is a large        This was the only meal
                                 Riley, Rapp,                   amount for a meal      billed for that day.
                                 Vorsteg                        for four people.       Before gratuity, the cost
                                                                                       of the meal was
                                                                                       $160.50, which equates
                                                                                       to $40.12 per person for
                                                                                       meals on that day
                                                                                       (including the ratable
                                                                                       tax on each meal).

                                                                                       Notwithstanding the
                                                                                       above, WTP will waive
                                                                                       its request for
                                                                                       reimbursement of this
                                                                                       cost.

   9.5.2019   Miscellaneous –    N/A                $1,679.89   The Court would        Discussed below.
              Site Visit to                                     like further details
              Belle Ayr and                                     about this
              Eagle Butte                                       expense.
              Mines and
              Videographer



       3.       With respect to the videographer expenses, counsel for the Committee received

conflicting reports as to the amount of coal that was “on the ground” at both the Pax Mine and the

Belle Ayr and Eagle Butte Mines. Counsel for the Committee received multiple calls from

creditors suggesting there was significant inventory available for shipping at the Debtors’ mines.

In light of the conflicting reports and the ongoing inquiries, coupled with the liquidity issues of

the Debtors at that time, the decision was made to conduct a site visit and video the then-existing

inventory. The Committee wanted to better understand its options with respect to coal inventory,

which is why the Committee incurred the videographer costs.




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Dated: December 4, 2019                 WHITEFORD TAYLOR & PRESTON LLP

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